      Case: 1:22-cv-02830 Document #: 1 Filed: 05/27/22 Page 1 of 15 PageID #:1




                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

SECURITIES AND EXCHANGE COMMISSION, :
                                    :
                       Plaintiff,   :
                                    :
                 v.                 :
                                    :                      Civil Action No. 1:19-cv-08454
TODAY’S GROWTH CONSULTANT, INC.     :
(dba THE INCOME STORE)              :
                                    :
and                                 :
                                    :
KENNETH D. COURTRIGHT, III,         :
                                    :
                       Defendants.  :
                                    :

MELANIE E. DAMIAN, AS RECEIVER OF                          ANCILLARY CASE NO.
TODAY’S GROWTH CONSULTANT, INC.
(dba THE INCOME STORE) ,

               Plaintiff,
v.

SMITHAMUNDSEN, LLC,

            Defendant.
__________________________________________/

                                        COMPLAINT

       Plaintiff, Melanie E. Damian, in her capacity as the Court-Appointed Receiver

(“Plaintiff” or the “Receiver”) for Today’s Growth Consultant, Inc. (dba “The Income Store”), in

the action titled Securities and Exchange Commission v. Today’s Growth Consultant Inc., et al.,

Case No. 1:19-cv-08454 (N.D. Ill. Dec. 27, 2019), hereby sues Defendant, SmithAmundsen,

LLC (“Defendant”) asserting claims for legal malpractice and aiding and abetting breach of

fiduciary duty, and states:
      Case: 1:22-cv-02830 Document #: 1 Filed: 05/27/22 Page 2 of 15 PageID #:2




                                       BACKGROUND

       1.      This action arises from the investigation of Plaintiff, Melanie E. Damian, as

Receiver appointed by the U.S. District Court for the Northern District of Illinois in the

enforcement action of Securities and Exchange Commission v. Today’s Growth Consultant, Inc.

(d/b/a “The Income Store”) and Kenneth D. Courtright, III, Civil Action No. 1:19-cv-08454 (the

“SEC Action”), to halt the long-running Ponzi scheme perpetrated by Today’s Growth

Consultant, Inc. (“TGC”) and its founder, Kenneth D. Courtright (“Courtright”), which

defrauded more than 750 investors out of approximately $75 million.

       2.      The Ponzi scheme was accomplished through TGC and Courtright’s luring of

investors to execute “Consulting Performance Agreements” wherein TGC promised to provide

its investors with a minimum guaranteed rate of return, in perpetuity, on alleged “revenues”

generated by websites that TGC acquired or built for each investor, and that TGC then

developed, maintained, and hosted. Relatively early on in the scheme, TGC was unable to keep

up with the investor payouts such that, in classic Ponzi-like fashion, TGC began paying the

existing investors with new investor funds, rather than from the website revenue.

       3.      On December 30, 2019, the Illinois District Court for the Northern District of

Illinois (the “Illinois District Court”) entered a Temporary Restraining Order Freezing Assets

and Imposing Other Emergency Relief [ECF No. 20] (“TRO”) and an Order Appointing

Receiver [ECF No. 19] (“Appointment Order”) in the SEC Action. As part of the Receiver’s

investigation, the Receiver analyzed TGC’s business operations, including projected and historic

income and expenses, and confirmed the SEC’s allegations that new investor funds and loans,

and not website revenue, were used to pay the investors/website partners.




                                                2
      Case: 1:22-cv-02830 Document #: 1 Filed: 05/27/22 Page 3 of 15 PageID #:3




       4.      On March 2, 2020, the Illinois District Court entered two separate stipulated

preliminary injunction orders titled Order Imposing Preliminary Injunction Freezing Assets and

Granting Other Relief [ECF Nos. 55, 56] against TGC and Courtright, which shall remain in

effect until further order of the Court.

       5.      The Receiver has standing to bring the claims asserted in this Complaint pursuant

to the Illinois District Court’s TRO, Appointment Order, and PI Orders. Relevant here, the

Appointment Order directed the Receiver to “assume and control the operation of [TGC] and . . .

pursue and preserve all claims or interests” of TGC. See ECF No. 19, at p. 3. Included among

such claims are legal malpractice actions to recover, for the benefit of the Estate, the damages

suffered by TGC and its investors due to the negligence of its legal counsel, Defendant

SmithAmundsen, and said counsel’s assisting Courtright to breach his fiduciary duties to TGC.

                           PARTIES, JURISDICTION AND VENUE

       6.      Plaintiff, Melanie E. Damian, was appointed in this District as Receiver of TGC.

Plaintiff brings this action in her capacity as Receiver, pursuant to the authority granted by this

Court in the SEC Action.

       7.      Defendant, SmithAmundsen, LLC (“SmithAmundsen”), was and is a law firm

with offices in eight locations across the Midwest, with its principal place of business in

Chicago, Illinois.

       8.      This Complaint is brought to accomplish the ends sought and directed by the

Illinois District Court in the SEC Action, which, among other things, appointed Plaintiff as

Receiver and authorized her to commence actions to recover assets and pursue claims of the

Receivership Estate. This action is related to the claims in the SEC Action, over which this

Court has original jurisdiction pursuant to Title 28, United States Code, Section 1331, in that this



                                                 3
      Case: 1:22-cv-02830 Document #: 1 Filed: 05/27/22 Page 4 of 15 PageID #:4




action forms “part of the same case or controversy under Article III of the United States

Constitution.” 28 U.S.C. § 1367(a).       Pursuant to the principles of ancillary jurisdiction or

supplemental jurisdiction, this Court has supplemental jurisdiction over the claims set forth

herein pursuant to Title 28, United States Code, Section 1367(a). Therefore, this Court has

subject matter jurisdiction over this action.

        9.      This Court has personal jurisdiction over Defendant because Defendant’s

principal place of business is in Chicago, Illinois. Moreover, Defendant provided legal services

to TGC, which was conducting, engaging in, and carrying on a fraudulent business or venture in,

among other locations, the Northern District of Illinois.

        10.     Venue is proper in the Northern District of Illinois, pursuant to Title 28, United

States Code, Sections 754, 1391(b), and 1692, because this action is brought to accomplish the

objectives of the TRO, the Appointment Order, and the PI Orders entered in the SEC Action, and

is thus ancillary to the Illinois District Court’s exclusive jurisdiction over the Receivership

Estate. Moreover, certain acts described in this Complaint occurred in the Northern District of

Illinois, and, upon information and belief, victims of TGC’s scheme were located in the Northern

District of Illinois.

                                  FACTUAL ALLEGATIONS

        11.     TGC was founded in 2009 by Courtright. Its business model consisted of TGC

entering into Consulting Performing Agreements with investors (each, an “Agreement” and

collectively, the “Agreements”), wherein the investors agreed to provide up-front and ongoing

payments for TGC to acquire or build “revenue generating websites” that TGC would then

develop, maintain and host. In the Agreements, TGC promised each investor the larger of either

50% of the assigned website revenues or a minimum annual guaranteed return (typically ranging



                                                 4
      Case: 1:22-cv-02830 Document #: 1 Filed: 05/27/22 Page 5 of 15 PageID #:5




from 13%-20% of the initial investment amount) to be paid monthly, even if the investor’s

website revenue was insufficient to pay that return.

       12.     The revenue that was generated from the websites each month was significantly

less than the monthly payment obligations to the investors and certainly was not sufficient to

cover both those monthly payments and TGC’s monthly overhead expenses.

       13.     As a result, TGC began operating a Ponzi scheme. It covered the significant

shortfall in website revenue primarily by using the up-front fees it obtained from new and repeat

investors who had entered into Agreements with TGC, and also by using the commingled

proceeds of significant loans it received from lenders, to pay the minimum monthly payments it

guaranteed to earlier investors under the Agreements, and to make payments towards the loans.

       14.     Throughout most of TGC’s existence, TGC’s general counsel for nearly all its

business matters was attorney Michael J. Polachek (“Polachek”). In early 2016, Polachek began

to suspect that the Agreements could be considered “investment contracts” and thus constituted

securities for which registration was required.

       15.     Around that same time, precisely when Polachek began to raise these securities

concerns, Courtright received a subpoena from the SEC on May 31, 2016 (the “SEC Subpoena”).

       16.     The SEC Subpoena was issued to Courtright as part of the SEC’s investigation in

In the Matter of Smart Money Financial Group, Inc. (D-3617).

       17.     The SEC had linked Smart Money Financial Group (“Smart Money”) to TGC and

Courtright because Smart Money had been one of TGC’s principal investors. Additionally,

Smart Money’s founder, Ron Fossum (“Fossum”), had been Courtright’s business partner, and

Fossum (through Smart Money) had entered into numerous Agreements with TGC.




                                                  5
      Case: 1:22-cv-02830 Document #: 1 Filed: 05/27/22 Page 6 of 15 PageID #:6




        18.     Notably, the purpose of the SEC’s investigation into Smart Money was to

determine whether Smart Money was operating as a Ponzi scheme.

        19.     In the SEC Subpoena, the SEC requested that TGC produce documents and

information regarding, among other things, TGC’s business model, the Agreements that TGC

had entered into with Smart Money, and Courtright’s relationship with Fossum. This presented

an issue for TGC because, if indeed the interest conveyed under the Agreements was a “security”

and it did not fall under any of the exceptions (as suspected by Polachek), TGC was required by

law to file a registration statement with the SEC.

        20.     Facing an SEC Subpoena that requested significant information about TGC’s

business model, and knowing that the TGC Agreements were possibly violating the SEC

registration requirements, Polachek recommended to TGC that it retain Defendant

SmithAmundsen as TGC’s primary securities counsel because Defendant had (and has) attorneys

that practice in the area of securities laws.

        21.     TGC thus entered into an attorney-client relationship with Defendant

SmithAmundsen on or about June 15, 2016. The Engagement Letter (the “SA Engagement

Letter”) provided the scope of SmithAmundsen’s representation of TGC:

        1) To analyze whether a certain instrument [i.e. the Agreement], which [Ken
        Courtright] will send to us, constitutes a “security” for state or federal regulatory
        purposes, or otherwise requires Today’s Growth or its employees to be licensed,
        and 2) counsel Today’s Growth in connection with complying with an SEC
        subpoena to it in In the Matter of SMFG, Inc., (D-3617).

A true and correct copy of the SA Engagement Letter is attached hereto as Exhibit “A”.

        22.     In connection with its representation of TGC, Defendant collected and reviewed

information relating to TGC’s business model, including TGC’s calculation of revenue, and

TGC’s Agreements and business dealings with Smart Money/Fossum. Defendant also worked



                                                 6
      Case: 1:22-cv-02830 Document #: 1 Filed: 05/27/22 Page 7 of 15 PageID #:7




with Courtright to prepare him for, and to represent Courtright at, Courtright’s deposition with

the SEC in furtherance of the Smart Money investigation.

       23.    At the outset of Defendant’s representation of TGC, Defendant was clearly aware

that the SEC’s subpoena to TGC indicated a strong likelihood that the SEC would directly

investigate TGC’s business and that TGC may also be operating as an illegal Ponzi scheme. As

stated by SmithAmundsen attorney John Collen in an internal email on June 16, 2016:

       I have advised Ken [Courtright] very clearly that the SEC investigation [of Smart
       Money] could easily expand to include/target Today’s Growth because SEC
       subpoenas are directed to people whom the SEC thinks have knowledge of, or
       connections to, whatever it is investigating. As I put it, “They didn’t subpoena
       you because they thought you were like an innocent bystander witnessing a traffic
       accident.”

A true and correct copy of the June 16, 2016 correspondence is attached hereto as Exhibit “B”

(emphasis added). Notably, and also in the June 16, 2016 correspondence, Mr. Collen noted

that the SEC investigation was “apparently concerned on whether [Smart Money] is a

Ponzi Scheme” and that Smart Money was “in the same basic business as TGC”. Id.

       24.    In July of 2016, Mr. Collen further noted that the response to the SEC Subpoena

had been prioritized over the analysis of the Agreements:

       Can we please give Mike [Polachek] a preliminary assessment ASAP, as well as
       indicate what additional work needs to be done? Eric, I know you needed to circle
       back to Vic on some point. I’d be most appreciative if that can be done promptly
       so Vic can talk to Mike [Polachek], ideally tomorrow. . . . just to get something
       moving if he's not satisfied with the pace. My sense here is that we have dived
       into the SEC subpoena issue with alacrity, but perhaps have been less attentive on
       the other issue of whether the Agreement is a security.

A true and correct copy of the July 7, 2016 correspondence is attached hereto as Exhibit “C”

(emphasis added).

       25.    Ultimately, on July 13, 2016, SmithAmundsen produced a memorandum (the

“Memorandum”) to TGC regarding “Whether Consulting Performance Agreement Interests


                                               7
      Case: 1:22-cv-02830 Document #: 1 Filed: 05/27/22 Page 8 of 15 PageID #:8




Constitute Securities”. A true and correct copy of the Memorandum is attached hereto as

Exhibit “D”. The Memorandum principally analyzed TGC’s business model as reported to

Defendant by Courtright and Polachek, and also analyzed three TGC Agreements, one of which

was between TGC and Smart Money.

       26.     Defendant’s Memorandum concluded that interest transferred under the

Agreements would likely be considered securities, but that Defendant needed more information

before it could make a definitive conclusion:

       This memo’s answer on the key issue of whether the interest conveyed under a
       Consulting Performance Contract constitutes a security is inconclusive, partly
       because additional information is needed and partly as a result of the split
       between relevant authorities on whether vertical commonality suffices, or
       horizontal commonality is necessary, to satisfy the common enterprise element of
       the Howey test.      However, subject to additional information that may
       subsequently be received, and making the (reasonable) assumption that those who
       contributed money to SMSIF were investing in an Authority Site managed by
       Today’s Growth, it is possible to provisionally conclude that the S.E.C. and
       probably even the Seventh Circuit would take the position that the Consulting
       Performance Agreements – at least the one with SMSIF – are investment
       contracts.

See Exhibit “D” at p. 7 (emphasis added).

       27.     Thus, by July of 2016, it is undisputed that Defendant had direct knowledge of the

following: (1) that TGC had been operating for several years without securities counsel; (2) that

the Agreements had never been registered as securities; (3) that the SEC had in its possession

several TGC Agreements; (4) that the Agreements were likely unregistered securities and as

such, TGC was actively violating securities laws; (5) that the SEC was investigating one of

TGC’s principal investors, Smart Money, for running a Ponzi scheme; (5) that Smart Money was

“in the same basic business” as TGC; and (6) that there was most certainly an impending SEC

investigation of TGC.




                                                8
       Case: 1:22-cv-02830 Document #: 1 Filed: 05/27/22 Page 9 of 15 PageID #:9




         28.   But, even with all this information, Defendant did not take any steps to

independently investigate TGC’s business and did not act with urgency in identifying and

correcting the securities issues with the Agreements or even recommending that such action be

taken.

         29.   Defendant’s lack of investigation of TGC’s business is further evidenced by the

fact that the Memorandum contained incorrect statements regarding TGC’s business model. For

example, the Memorandum alleges that TGC “transfers ownership of the Authority Site to the

[investor].”   In reality, however, the websites and domains (with minor exceptions) were

maintained in the name of, and owned by, TGC and not the individual investors. Another

Example is the Memorandum’s statement that each investor “receives profits only from the

Authority Site that it owns.” Again, the investor did not own the site. And, TGC’s promise to its

investors of “guaranteed returns” (i.e. the investor would receive returns even if even if the

investor’s website revenue was insufficient to pay that return) belied Defendant’s statement that

the investor’s “profits” were derived solely from the Authority Site owned by the investor.

         30.   Following the Memorandum, and in order to assist Defendant with obtaining the

additional information it requested in the Memorandum, Courtright immediately provided

Defendant with another twenty Agreements for its review.

         31.   Over the next several months and well into 2017, Defendant and Courtright

exchanged email correspondence regarding potential revisions to the Agreements, but Defendant

never produced a final revision or made any final recommendation to TGC regarding how it

could become in compliance with the law or that it needed to register the Agreements with the

SEC.




                                                9
     Case: 1:22-cv-02830 Document #: 1 Filed: 05/27/22 Page 10 of 15 PageID #:10




          32.    Three years later, on July 5, 2019, Polachek again raised his concerns to

Courtright that the Agreements could convey the sale of a security and recommended that

Defendant rereview the Agreements:

          For several years now I have been concerned that the Consulting Agreement
          could be interpreted to be the sale of a security. . . . In addition, I have a concern
          about the possible inflation of TGC revenues resulting in potentially deceptive
          claims by TGC about its business performance – which could impact website
          purchasers, lenders, future investors and potential buyers of the TGC business
          someday.

A true and correct copy of the July 5, 2019 email is attached hereto as Exhibit “E” (emphasis

added).

          33.    Heeding Polachek’s advice, TGC requested that Defendant again analyze the

Agreements. A review of SmithAmundsen’s billing records from this time-period shows that

Defendant charged TGC over $6,000 to research the same case law and perform the very same

analysis that it had three years prior.

          34.    This time, however, Defendant concluded that the Agreements were investment

contracts and thus were securities. As documented in a July 15, 2019 email correspondence from

Polachek to Courtright:

          I just met with Eric Fogel [from SmithAmundsen] on the Consulting Agreement.
          He confirms that it is an investment contract and as such is subject to the
          securities laws. He cited to the long-standing US Supreme Court case SEC v.
          Howey that defines an investment contract as “a person invests his money in a
          common enterprise and is led to expect profits solely from the efforts of the
          promoter or a third party.” . . . Also, we are concerned about what you are saying
          in your radio advertising. These may be considered a general solicitation which is
          prohibited under securities laws unless the security is registered – a very
          expensive and time-consuming process.

A true and correct copy of the July 15, 2019 email is attached hereto as Exhibit “F”.

          35.    Defendant’s conclusion, however, came much too late. Just a few months later,

on December 27, 2019, the SEC Action was filed against TGC, and the Receiver was appointed.


                                                   10
    Case: 1:22-cv-02830 Document #: 1 Filed: 05/27/22 Page 11 of 15 PageID #:11




       36.     The crux of the SEC’s Complaint was that TGC was running an illegal Ponzi

scheme, and that TGC misled and defrauded potential and existing investors across the United

States and the world through the offer and sale of unregistered securities (i.e. through the offer

and sale of the Agreements).

       37.     As such, TGC was sued by the SEC for the securities violations that Defendant

should have investigated, identified and corrected three years earlier as TGC’s primary securities

counsel. At the very least, Defendant was obligated to advise how TGC could come into

compliance or that it needed to discontinue its operations.

       38.     As a result of operating an unregistered business that was a Ponzi scheme, TGC

was insolvent, undercapitalized, and operating at a loss. Defendants’ actions and inactions

resulted in, or significantly contributed to, TGC continuing its fraudulent operations for an

additional three years. Had Defendant investigated TGC and timely counseled TGC to register

the securities or otherwise come into compliance with the law, it is highly probable that TGC’s

Ponzi scheme would have been halted by the SEC in 2016 – instead of three years later in 2019.

       39.     Because most TGC investors have not received the return of their investment or

all of the amounts due to them under the Agreements, these investors will have significant claims

against the Receivership Estate to recover their investments.

       40.     As a result of Defendant’s negligence, TGC has suffered millions of dollars in

damages.

       41.     All conditions precedent to the bringing of this action have been performed or

satisfied or have occurred.




                                                11
    Case: 1:22-cv-02830 Document #: 1 Filed: 05/27/22 Page 12 of 15 PageID #:12




                                     CLAIMS FOR RELIEF

                                               COUNT I
                                           Legal Malpractice

       42.      Plaintiff repeats and re-alleges and incorporates by reference the allegations set

forth in paragraphs 1 through 41 of this Complaint as if fully set forth herein.

       43.      An attorney-client relationship existed between Defendant SmithAmundsen and

TGC.

       44.      Pursuant to the attorney-client relationship between Defendant and TGC,

Defendant owed TGC the duty to exercise ordinary care, skill and knowledge which members of

the legal profession ordinarily possess.

       45.      Defendant’s duty to exercise ordinary care, skill and knowledge included the duty

to make a reasonable effort to independently verify the facts on which Defendant’s legal advice

was based, the duty to give advice when necessary to prevent or rectify unlawful or improper

acts of TGC, the duty to investigate any “red flags” that arose during the course of Defendant’s

representation of TGC, and to counsel against and/or prevent the violations of law, civil and

criminal.

       46.      For the reasons more fully set forth above, Defendant SmithAmundsen breached

its duty to exercise ordinary care, skill and knowledge during the rendering of legal

representation to TGC by, inter alia:

             a. Failing to investigate TGC’s financial representations in connection with the

                method and manner in which TGC calculated revenue and provided the

                guaranteed investor payouts under the Agreements.

             b. Failing to investigate TGC’s representations with respect to the ownership of the

                websites which TGC’s investors believed they were purchasing to own;


                                                  12
    Case: 1:22-cv-02830 Document #: 1 Filed: 05/27/22 Page 13 of 15 PageID #:13




             c. Failing to advise TGC of the impropriety of TGC’s business operations;

             d. Failing to advise TGC that its failure to register the Agreements was unlawful;

             e. Failing to advise TGC as to how to correct its violations and/or to cease

                   operations.

       47.         Defendant SmithAmundsen’s breaches of its duty to exercise ordinary care, skill

and knowledge during the course of its representation to TGC, inter alia, deepened TGC’s

insolvency, causing irreparable damage to TGC and TGC’s creditors.

       WHEREFORE, Plaintiff hereby demands judgment against Defendant, SmithAmundsen,

LLC, for the total amount of damages resulting from the Defendant SmithAmundsen’s legal

malpractice committed while acting as TGC’s primary securities counsel, plus costs and interest,

and any such further relief that this Court deems to be appropriate and just.

                                            COUNT II
                           Aiding and Abetting Breach of Fiduciary Duty

             51.      The Receiver hereby reasserts and realleges the allegations set forth in

   paragraphs 1 through 41 as if fully set forth herein.

             52.      As set forth above, during the time that Defendant was representing TGC as

   its primary securities counsel, TGC was actively violating securities laws, and operating as a

   fraudulent scheme and Ponzi scheme to the detriment of TGC and its investors and/or

   creditors, as determined by the Court in the TRO and PI Orders.

             53.      By violating the securities laws, defrauding TGC’s investors and operating a

   Ponzi scheme, Courtright breached his fiduciary duty to TGC’s investors to safeguard their

   investments and not use their investment funds for his own personal benefit.

             54.      Defendant’s role as primary securities counsel for TGC included Defendant’s

   review of TGC’s business model and business documents, revenue calculations, and several


                                                  13
Case: 1:22-cv-02830 Document #: 1 Filed: 05/27/22 Page 14 of 15 PageID #:14




TGC Agreements with varied investors. Additionally, Defendant represented TGC in an

SEC investigation of Smart Money, one of TGC’s principal investors and business partners

that was suspected by the SEC of running a Ponzi scheme in a business that Defendant

recognized was “essentially the same” as TGC.

       55.      For at least three years, from mid-2016 through mid-2019, Defendant knew

that TGC was actively violating the U.S. securities laws in operating under and entering into

new Agreements with investors that constituted unregistered securities. Defendant also

knew, based on the SEC’s allegations against Smart Money and the guaranteed investor

payouts that TGC promised under the Agreements, that TGC was likely falsely inflating its

revenues and operating as a Ponzi scheme.

       56.      Nevertheless, Defendant knowingly and substantially assisted Courtright in

breaching his fiduciary duty to investors by, inter alia:

       a. failing to investigate TGC’s representations regarding its revenue and overall

             business model;

       b. failing to register the Agreements with the SEC and/or to revise the Agreements

             and TGC’s business model such that the interest transferred under the Agreements

             did not constitute a security or otherwise complied with the law; and/or

       c. failing to advise TGC that if it did not come into compliance with the law, that

             TGC had to cease operations.

       57.      As a direct and proximate result of Defendant’s conduct, TGC sustained

damages.

                                     JURY DEMAND

   Plaintiff hereby demands a trial by jury on all claims and issues so triable.



                                             14
Case: 1:22-cv-02830 Document #: 1 Filed: 05/27/22 Page 15 of 15 PageID #:15




       WHEREFORE, Plaintiff, as the Receiver for TGC, respectfully requests that the

Court enter judgment against Defendant for compensatory damages and/or restitution,

interest, costs, and for such further relief as may be just and proper.

   Dated: May 27, 2022

                                           Respectfully submitted,

                                           /s/Kenneth Dante Murena
                                           Kenneth Dante Murena, Esq.
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                                           Counsel for Melanie E. Damian,
                                           Court-Appointed Receiver

                                           General Admission to N.D. Ill.




                                              15
